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 5
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 6
                                  IN THE UNITED STATES DISTRICT COURT
 7                                     FOR THE DISTRICT OF GUAM

 8
          V.P.                                                    CIVIL ACTION NO. 1 8 - (10 Q3 9
 9
                                   Plaintiff,
10
                                                                COMPLAINT
11
          ROMAN CATHOLIC ARCHBISHOP OF
12        AGANA, a Corporation sole; BOY SCOUTS
          OF AMERICA, a congressionally chartered                 JURY TRIAL DEMANDED
13        corporation, authorized to do business in
          Guam; BOY SCOUTS OF AMERICA
14        ALOHA COUNCIL CHAMORRO
          DISTRICT; LOUIS BROUILLARD, an
15        individual; DOE ENTITIES 1-5; and DOE-
          INDIVIDUALS 6-50, inclusive,
16
                                   Defendants.
17



                 PlaintiffV.P. ("V.P.") files this Complaint ("the Complaint") for damages basedon prior sexual
19
     abuse against Defendants Archbishop of Agana, a corporation sole, Boy Scouts of America, a
20
     congressionally chartered corporation, authorized to do business on Guam, the Boy Scouts of America Aloha
21
     Council Chamorro District, Louis Brouillard, an individual, and DOES 1-50 ("Defendants").
22
                                                           I.
23                                              JURISDICTION AND VENUE

24
                 1.   This Court has subject matter jurisdiction over this matter under 28 U.S.C. § 1332 because all
25
     parties are citizens of diverse states and the amount in controversy exceeds $75,000.00 exclusive of interest,
26
     fees, and costs.
27
     //
28




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 1I            2. This Court has personal jurisdiction over this matter because Defendants purposefully availed
 2    themselves to the benefit of the laws of this judicial district by regularly transacting and/or conducting
 3    business in this state.

 4             3.   Venue is appropriate under 28 U.S.C. § 1391(b)(2) because this is the judicial districtin which

 5    a substantial partof the events or omissions giving rise to the claim occurred, and or a substantial part of

 6    property that is the subject of the action is situated.

 7                                                              II.
                                                           PARTIES
 8

 9             4.   At all times relevant hereto, V.P. is an adult resident of Guam

10             5.   At all times relevant hereto, and upon information and belief, Roman Catholic Archbishop of

11    Agana, a corporation sole, in accordance with the discipline and government of the Roman Catholic Church,

12    is the legal name for Defendant Archbishop of Agana, also known as Archdiocese of Agana. ("Agana

13    Archdiocese"), which is and has beenat all times relevant hereto a non-profit corporation organized and

14    existing under the laws of Guam, authorized to conduct business and conducting business in Guam, with its

15    principal place of business in Guam. The Agana Archdiocese is an entity under the control of the Holy See,

16    based in Vatican City, Rome, Italy, and as such constitutes a citizen of a foreign country for purposes of

17    diversity jurisdiction. Agana Archdiocese is responsible and liable in whole or in part, directly or indirectly,

18    for the wrongful acts complained of herein.

19             6.   At all times relevant hereto, and upon information and belief, the Boy Scouts of America

20    ("BSA") was a corporation authorized to do business in Guam, and to this day, BSA regularly transacts
21    business throughout Guam. At all times relevant tothis complaint, BSA authorized local councils and local
22    organizations to charter, sponsor, and operate Boy Scout troops throughout Guam, including defendant Boy
23    Scouts of America Aloha Council Chamorro District ("Aloha Council"). The BSA and AlohaCouncil

24    participated in, if not directly controlled, the selections of Scout leaders and troops, and retained and
25    exercised the ultimate authority to decide who could be a Scout troop leader. The BSA andAloha Council

26    also hadthe right to control the means and manner of the staffing, operation, and oversight of any Scout

27    troop. In exchange forthe use of BSA's name, programming, and endorsement, the leaders and members of
28    the individual Scout troops would pay BSA an annual membership fee. BSA is responsible and liable in




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 1   whole orin part, directly orindirectly, for the wrongful acts complained of herein.

 2           7.   At alltimes relevant hereto, and uponinformation and belief,the Aloha Council, which is and

 3   has been a non-profit corporation that regularly conducted business in Guam, and acted asanagent ofBSA

 4   under its direction, supervision, and jurisdiction. Aloha Council is responsible and liable in wholeorin part,

 5   directly or indirectly, for the wrongful acts complained of herein.

 6           8.   The BSA andAloha Council operate Scouting programs, which invite and seek out the

 7   participation of children. The BSA andAloha Council, through their Scout leaders, employees, servants,

 8   officers, volunteers, and/ or agents, have control overthose activities involving children. BSA hasthe power

 9   to appoint, supervise, monitor, restrict and fire each person workingwith children within the Boy Scout

10   program.

11           9.   At all times relevanthereto, DefendantLouis Brouillard ("Brouillard"), an individual and an

12   agent of the Agana Archdiocese, was a member of the clergy of the Agana Archdiocese, and a Catholic

13   priest working for the Agana Archdiocese. Brouillard was ordained as a Catholic Priest on December 17,
14   1948 in Guam where he worked in parishes and schools until 1981. At all times relevant hereto, Brouillard

15   was also an employee, volunteer, and / oragent of theBSA, who worked as a scoutmaster and performed
16   duties for the Aloha Council. At all times relevant hereto, Brouillardwas a resident of Guam and is

17   responsible and liable inwhole or inpart, directly or indirectly, for the wrongful acts complained of herein.
18   Defendant Brouillard currently resides in the mainland United States.

19           10. Defendant-entities namedhereinas DOES 1-5, inclusive, are or at all times relevant hereto,

20   were insurance companies that provided general liability coverage and/or excess level liability coverage
21   pursuant topolicies issued tothe Agana Archdiocese and/or Roman Catholic Church ofGuam, the BSA, and
22   the Aloha Council. Defendant-individuals named here-inas DOES 6-50, inclusive, are at all times relevant

23   hereto, were agents, employees, representatives and/or affiliated entities of the Agana Archdiocese and/or
24   Roman Catholic Church, the BSA, the AlohaCouncil, whose true names and capacities are unknownto John

25   whotherefore sues suchdefendants by suchfictitious names, and who will amend the Complaint to showthe

26   true names and capacities of each such Doe defendant when ascertained. DOES 6-50 assisted, aided and
27   abetted and/or conspired with Brouillard and/or other members of the Agana Archdiocese, the BSA, the
28   AlohaCouncil, to conceal, disguise, coverup, and/or promote the wrongful acts complained of herein. As




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 1   such, each such Doe is legally responsible insome manner for the events, happenings, and/or tortious and
 2   unlawful conduct that caused the injuries and damages alleged inthis Complaint.
 3              11. Eachdefendant is the agent, servant and/or employee of otherdefendants, and eachdefendant

 4   was acting within the course and scope ofhis, her or its authority as anagent, servant and / or employee of
 5   the other defendants. Defendants, and each ofthem, are individuals, corporations, alter egos and partnerships
 6   of each other andother entities which engaged in, joined in andconspired withthe other wrongdoers in
 7   carrying out the tortious and unlawful activities described in this Complaint; and defendants, each of them,

 8   ratified the acts of the otherdefendants as described in this Complaint.

 9              12. At the time V.P. was sexually abused by Brouillard, Defendants knew or shouldhave known

10   that Brouillard posed a threat of foreseeable harm to V.P. and other children, but they failedto take

11   reasonable stepsto protectV.P. from that harm.

12                                                         III.
                                         INTRODUCTORY ALLEGATIONS
13

14   A. Culture of Sexually Predatory Behavior

15              13. Since the inception of the priesthood many centuries ago, becoming a Catholic priesthas

16   required numerous vows to betaken among them a vow of celibacy, obedience to the laws of both God and
17   society, and a variety of responsibilities thatelevated priests, nuns, andentities thatutilized the services of
18   priests and nuns, to a high status inthe community, which has induced parents to entrust their children to the
19   care of priests andlikewise induced children to submit to thecommands andwill of priests.
20              14. Thecreation of the ritual of altarboyservice as a component of the Catholic mass and other

21   religious services with the Catholic Church, if not originally conceived assuch, ultimately became a tool by
22   which sexually predatory priest would gain access toyoung boys and such access was disguised inthe form
23   ofprivileged opportunities bywhich thechurch invited certain young boys to serve as altar boys, an
24   opportunity that was viewed as a respectable and distinguished role for a young boy in thecommunity and
25   gave the boystatus of wearing liturgical apparel during church services andworking sideby sidewiththe

26   priests.

27              15. Further disguising the scheme to have sexual access to youngboyswas the ritualof requiring

28   altarboysto spendthe nightat the church rectory, ostensibly to facilitate preparation for the following




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 1   morning church services. By presenting the overnight requests in this manner, priests routinely gained the

2    approval of parents; and oftentimes the sexual abuses occurred during the night in their bedsat the priests'

3    residences. These seemingly routine practices of having altarboys stay overnight servedthe predatory priests

4    with a steadysupplyof victimsunderthe auspices and pretense of formal churchprotocol, which allowed the

5    church to continually operate a veritable harem of youngboys who were readily available to pedophiles who

6    utilizedthe stature of the church into deceiving the community to regard them as high-level officials.

7            16. The systematic and ongoing pattern of sexual abuse of young children was characteristic of an

8    internal societywithinAganaArchdiocese, whose norms were based on pedophilic conductdisguised by the

9    rituals andpageantry of liturgical services, together withthe auraof prestige that was inculcated in the

10   community andwhich caused Catholic parishioners to place the highest level of confidence andtrustin the

11   church and its clergy. Thisinternal society of sexual corruption sustained itselfthrough a conspiratorial

12   arrangement between priests andhigher officials in theAgana Archdiocese, whereby they all understood and

13   agreed to remain quiet about each others sexual abuse misconduct, to tolerate such misconduct, and to
14   withhold information about suchmisconduct from third parties including victims' parents or guardians and

15   lawenforcement authorities, in order to protect the offenders andthe Agana Archdiocese, thereby placing

16   their loyally above their duty to protect the minor children and their legal responsibilities.
17            17. Although BSA was originally conceived intheearly twentieth century outof a philosophy of
18   good will aimed atpromoting the healthy development ofyoung boys, the Catholic Church developed and
19   maintained a relationship with BSA inGuam bywhich pedophilic priests exploited theopportunity to serve
20   asscoutmasters for the specific purpose ofhaving access to young boys. Asalleged herein, this relationship
21   between BSA, the AlohaCouncil andthe Catholic Church resulted in numerous instances of sexual abuse

22   andmolestation which were committed willfully by individual priests andwere allowed to occur dueto the

23   gross negligence and recklessness ofthe Agana Archdiocese, the BSA, and theAloha Council, which failed
24   to properly oversee and manage this relationship between the entities as alleged in more detail herein. BSA
25   andthe AlohaCouncil werewilling to overlook and ignore the sexually predatory conduct of Catholic priests

26   on Guam as part of a symbiotic relationship between the entities by whichBSAand the AlohaCouncil

27   gained monetary revenues through the enrollment of young boys, andpriests gained access to boysto act out

28   sexuallyabusiveand predatorybehaviors.




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 1           18. The sexually abusive practices arising out of the relationship between BSA,the AlohaCouncil,

 2   andthe Agana Archdiocese, were another extension of the internal culture of sexual corruption and abuse

 3   that characterized the Agana Archdiocese in Guam.

 4           19. These sexually predatory norms werean integral part of the standards and culture generated by

 5   the central authority of the RomanCatholic Church basedin VaticanCity, Italy, which closelycontrolled the

 6   operations of the AganaArchdiocese, and which aided and abetted such sexually predatory and abusive

 7   practices by priestsby knowingly tolerating such actions, failing to managethe Agana Archdiocese, to

 8   prevent sexual misconduct, and engaging in actions to protect and shieldprieststhroughsuch policies as

 9   transfers to otherjurisdictions, maintaining an internal codeof silence, and choosing to remainwillfully

10   blindto the ongoing sexualmisconduct committed by Catholic priests.

11           20. Thesesexually predatory norms werealso an integral part of the long-term relationship between

12   the Agana Archdiocese, and BSA which fostered an environment conducive to the sexual abuse of young

13   boys on Guam by encouraging priests to serve as Scout leaders and exploiting thetrustplaced in the church
14   bythe community of Guam such thatparents willingly enrolled their young sons as BoyScouts and

15   entrusted them to the priest-scout leaders during scouting events andovernight outings, while theAgana
16   Archdiocese, andBSAtolerated and remained willfully blindto the rampant sexual abuse that was

17   perpetrated on an ongoing basis.

18   B. Sexual Abuse Inflicted on Plaintiff V.P.

19           21. In or about 1973 or 1974, around the ages of twelve (12) or thirteen (13) years old, V.P. was a

20   Boy Scoutfor the Yona Boy ScoutTroop.

21           22. During this time, Brouillard was a priest for the Agana Archdiocese, and was also anemployee,
22   volunteer, and/or agent ofthe BSA, who worked asa scoutmaster and performed duties for the Aloha
23   Council, and would sometimes useweekly outings to recruit young boys to become altar boys orjoin the

24   Boy Scouts.

25           23. During theperiod in which he was a Boy Scout, V.P. was sexually molested andabused by
26   BrouillardduringBoy Scout outings.

27           24. To achieve his sexually predatory objectives, Brouillard usedvarious strategies to gainaccess

28   to V.P. andother young boys by conducting weekly outings andtaking V.P. andsome of the boys swimming




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 1   under theguise of earning merit badges. Onnumerous occasions, Brouillard would pickthem up at the Yona

 2   Mayors Office andtakethem to swim. While swimming, Brouillard would swim completely naked and

 3   routinely instructed V.P. andthe otherboys to remove theirclothes, and Brouillard would grope andtouch

4    their private parts, and presshis penis up against theirbuttocks.

 5           25. Brouillardwould often rewardV.P. and the boys by taking them out to eat restaurants, all as

 6   part of his ongoing grooming campaign as a sexual abuser of minors.

 7           26. Upon information and belief, otherpriests and representatives of the AganaArchdiocese,

 8   including Bishop Apollinaris Baumgartner, Archbishop Anthony S. Apuron, Monsignor Zoilo Camacho,

 9   now-deceased Father Antonio C. Cruz, and individuals named herein as Doe defendants, were aware of the

10   sexual abuse committed by Brouillard and deliberately remained quiet and withheld such information from

11   thirdparties including victim'sparents or guardians andlawenforcements authorities, in orderto protect

12   Brouillard andthe AganaArchdiocese, thereby placing theirloyalty above their dutyto protect the minor

13   children and their legalresponsibilities.

14           27. Upon information andbelief, the BSA andAloha Council knew of or should have known that

15   Brouillard wasa sexual predator of young boys before he sexually abused V.P. because Brouillard had been

16   committing acts of sexual molestation as a Boy Scout leader forapproximately at least two decades prior to

17   molesting V.P. It waswell-known foryears thatBrouillard used his positions as a scoutmaster to takeboys

18   swimming in thenude andto sexually molest Scout campers during overnight anddaytrips.
19           28. BSA hashada long history of sexual molestation andabuse of young boys, that has been

20   documented extensively bothin the media andthrough numerous civil and criminal litigations through out

21   the UnitedStates. Therehave been numerous Scoutleaders that have been sentenced in criminal prosecution

22   for actsof sexual molestation of minor boys. As a general reference the following Internet linkscan be

23   viewed online:

24                    https://en.wikipedia.org/wiki/Boy_Scouts_of_America
25                    https://en.wikipedia.org/wiki/Boy_Scouts_of_America_sex_abuse_cases
26                    https://www. theguardian.com/world/2010/apr/29/boy-scouts-sexual-abuse-
                      dykes
27
                      http://www. thenationaltriallawyers. org/2015/03/boy-scout-abuse/
28




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 1                   http://www.renters, com/article/us-usa-boyscouts-abuse-
                     idUSBRE89H0ZF20121018
 2

 3           29. Upon information and belief,the BSA and Aloha Councilhad been notified regarding

 4   Brouillard'sacts of sexualmolestation. The BSA and AlohaCouncil had known sincethe early 1920s that

 5   men like Brouillard were usingtheir positions as scoutmasters to groomand sexually abuse Boy Scouts.

 6           30. Founded in 1910, the BSAis one of the largest youth organizations in the UnitedStateswith

 7   millions of members. Throughout BSA's history, it has consistently held itself out to the public as a "moral

 8   and safe" environment for boysto participate in healthy outdoors activities and to be givenproperguidance

 9   andinstructions. Millions of parents and Scouts have placed theirtrust in the BSA.An estimated 20%of

10   American boys havehad contact withScouting either as members or attending Boy Scoutactivities.

11           31. Uponinformation and belief, shortly afterits inception, the BSAbecame aware that a

12   significant number of its adultScout leaders, employees, servants, officers, volunteers, and/ or agents were

13   usingtheir position of trust and authority to manipulate and sexually abuse young boys participating in the

14   BSA's Scouting program.

15           32. Surprisingly, the BSAstillcontinued to promote the safety, trustworthiness, and

16   wholesomeness of its program, eventhough it has been secretly removing scoutmasters for childsexual

17   abuse at an alarming rate sincethe 1920s. Its ownrecords demonstrate that the BSAhas long-known yet

18   concealed from its members, Scouts, andScouts parents thatScouting attracts pedophiles in large numbers

19   andthat Scouts, far from being safe, areat heightened risks of sexual abuse by childmolesters. TheBSA

20   misrepresented to members, Scouts and Scouts parents that the Scouts were safein Scouting programs, and

21   made this misrepresentation to V.P. andV.P.'s parents.

22           33. In approximately 1920s, theBSA created andmaintained a highly confidential file system that
23   is oftenreferred to as the "Ineligible Volunteer" files. The purpose of the Ineligible Volunteer files was to

24   identify Scout leaders, employees, servants, officers, volunteers, and/ or agents of the BSAwho were

25   considered "ineligible" to holdpositions as a Scout leader, whoposeda danger to children because of a

26   variety of moral offensesand who were declared unfit to volunteer. One of those moral offenseswas

27   "perversion" with children. The most common reasonfor Scoutleaders, employees, servants, officers,

28   volunteers, and / or agentsof the BSA to be placedin the Ineligible Volunteer files has been allegations of




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 1   sexual abuse of boys. Themajority of the cases on file are perversion cases, and the BSAhas referred to the

 2   subset of Ineligible Volunteer files as the "Perversion Files".

 3           34. Upon information andbelief, between 1965 and 1985, at least 1,200 "perversion" files were

 4   created for Scout leaders, employees, servants, officers, volunteers, and/or agents of the BSAwhohad

 5   molested one or morechildren. There was an average of morethan one new child molester a week, and

 6   manyof thesevolunteers molested multiple Scouts and otherboys. The BSA knew that not all molesters in

 7   Scouting were caughteachyear, particularly because someof the molesters were shownto have abused

 8   Scoutsand other boys for severalyears beforedetection.

 9           35. The BSAwent to significant lengths to keepthe existence of their Perversion File systemand

10   the problemof pedophiles Scout leaders a secretfrom its member, Scouts, and Scouts families. Upon

11   information and belief, local councils, like the AlohaCouncil, were instructed, and agreed, not to keep

12   Perversion Files at their offices, but ratherto sendeverything to the BSANational Office. This was a

13   material riskthat was unique to the Boy Scout program andwas not something that V.P., V.P.'s parents/or

14   guardians, or the general populations knew existed.

15           36. At some point in or about 1971, theAloha Council was aware or should have beenaware that

16   scoutmasters within the Aloha Council posed a danger of sexually abusing Boy Scouts. Aloha Council

17   gained this knowledge through reports ofsexual abuse byscoutmasters operating within theAloha Council's
18   geographic boundaries.

19           37. Forexample, in or about 1971 or 1972, theChamorro Council Scout Executive, Roger D. Pelz,
20   reported that the assistant scoutmaster ofTroop 32, David Joseph Ellington, initiated sexual contact with two
21   minor boys atthe U.S. Coast Guard Naval Station inGuam. Mr. Ellington subsequently left the area and
22   relocated to Phoenix, Arizona, where he attempted to re-enroll in theBSA as a Scout leader, employee,

23   servant, officer,volunteer, and/or agent.

24           38. Despite knowing thatmore than a thousand men like Mr. Ellington hadused theirpositions in

25   the BSAto groom andto sexually abuse children, the BSA andAlohaCouncil neverwarned V.P., V.P.,
26   V.P.'s parents/or guardians, or other children about the danger of sexual abuse in Scouting.

27           39. Prior to the sexual molestation and abuse of V.P., BSA knew or should have known that its

28   Ineligible Volunteer FilesandPerversion Files system didnot function as it was intended, was flawed, and in




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 1   many cases ineffective to addressthe sustained problem of sexual abuse of young boys by Scout leaders,

 2   employees, servants, officers, volunteers, and/or agents of BSA. Despite that knowledge, BSAdid nothing to

 3   educate its members, Scouts and Scouts parents of the ineffectiveness of the screening and tracking system

 4   and process. BSA did nothing to educate or inform members, Scouts and Scouts parents of the enormity of

 5   the pedophile problem, nor did BSAtakeaction to correct its screening and/oreducation system.

 6           40. Instead, the BSA and its local councils, including the Aloha Council intentionally and actively

 7   concealed the continuous and systematic dangerof sexual abuse of boys in their programs by Scout Leaders.

 8   TheBSA and AlohaCouncil also actively promoted and represented to the publicthat their Scouting

 9   programs were safeandwholesome andtheirScout Leaders were safeandtrustworthy.

10           41. The BSA and Aloha Council knewthat Scouting, a closed system over which the Boys Scouts

11   heldexclusive control related to participation andaccess, was and still continues to be usedby child

12   molesters to gainaccess to andthe trustof Scouts, otherboys, their families and the community. The BSA

13   and AlohaCouncil knewthe majority of boyswere abused duringone-on-one situations, and that V.P.,

14   V.P.'s parents and/orguardians andthe families of otherBoy Scouts wouldconsiderthis to be a material

15   risk. Nevertheless, the BSA and AlohaCouncil did nothing to warn V.P., V.P.'s parents/or guardians or any

16   of the otherBoy Scouts or their parents and/or guardians of the risks of molestation by Scoutleaders,

17   employees, servants, officers, volunteers, and/or agents of BSA, andthe BSAdid nothing to change the Boy

18   Scout program prior to the representations andomission they made to V.P., V.P.'s parents and/or guardians,

19   or any of the otherBoy Scouts or their parents and/or guardians regarding Brouillard. Instead, the BSA

20   continued to makethe samerepresentations and omission to V.P.,V.P.'s parentsand/orguardians, or any of

21   the otherBoy Scouts or their parents and/or guardians, knowing they were false and knowing they were

22   beingrelied upon by them.

23           42. The BSA and Aloha Council made these representations and omissionswith the intent of

24   inducing V.P., V.P.'s parents and/orguardians, or any of the otherBoy Scouts or their parents and/or

25   guardians, to rely on these representations and omissions so they would continue to trust the BSA, Aloha

26   Council, and Brouillardand continueto pay to participate in Scouting.

27           43. The BSA and Aloha Council knew that if they revealedthe truth, their revenueswould sharply

28   decrease, they would lose their prestige and reputation as a "safe programfor boys," and they would likely


                                                          10


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 1   face liability for the thousand of boyswho had already beensexually abused by Scoutleaders, employees,

 2   servants, officers, volunteers, and/oragents of the BSA.

 3           44. For example, upon information and belief, on or about December 4,1972, BSA's Executive

 4   Director of Registration and Subscription Services, Paul I. Ernst ("Ernst"), sent a "personal and confidential"

 5   letterfromthe BSA's national headquarters to "all Scoutexecutives" with the subject"Maintaining

 6   Standards of Leadership." In the letter, Ernstinformed his Scoutexecutives that he was enclosing guidelines

 7   that were "carefullydeveloped" by the BSA, but "becauseof the misunderstandings which could developif

 8   it were widely distributed," he instructed themto avoidsharing it "beyondthe top management of your

 9   council." The memorandum outlined the manner in whichlocal councils should report accusations, however

10   urgesthat the policy be kept confidential, advises BSA staffto tell unfit leadersthat their actions wouldnot

11   be reported to anyone including lawenforcement, and states that in someinstances, the BSA is evenwilling

12   to re-admit leaders whose named have been included in the confidential files.

13           45. Uponinformation and belief, in another letterfrom Ernstto a local council executive, datedon

14   or aboutDecember 15,1981, regarding a reported sexual predator Ernst wrote,"We have always askedthat

15   all the records in this type of situation be kept in the national officeand not in the local council office

16   because of the embarrassment that could be incurred if the wrong individuals would read the file."

17           46. The BSA's existing policies and procedures were not working to protectthe boys from being

18   sexually abused by Scoutleaders, employees, servants, officers, volunteers, and/oragents of the BSA.

19   Despite knowing that their policies wereinsufficient, the BSAand Aloha Council did nothing to warnV.P.,

20   V.P.'s parents and/orguardians, or any of the otherBoy Scouts or their parents and/orguardians of that

21   danger. Instead, they keptrepresenting thatthe BSAprogram was completely safe and its Scoutleaders,

22   employees, servants, officers, volunteers, and/or agents were completely safe. Although BSAeventually

23   changed its policies and procedure, it did so after it was too late to protectV.P.

24           47. In or about 2012,the BSA was forced by court orderto releaseover 20,000pages of

25   documentation on about 1,200 alleged child sex abuse cases within the organization, covering the time

26   period from approximately1965to 1985.

27           48. The BSA and Aloha Councilcontinues to make false and misleadingpublic statements

28   regarding the risks of sexual abuse in Scouting; continues to minimizeand downplaythe harm of sexual


                                                             11


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 1   abuseto children in Scouting; failsto reachout to provide support and assistance to boys it knowswere

 2   sexually abusedby adult Scout Leaders; and continues to deny the truth about its historicalknowledge of the

 3   natureand extent of sexual abuse of scoutsby adult Scout leaders; and fails and refuses to take any

 4   responsibility for theirgross negligence for hiring, retaining, or engaging in the services of pedophiles.

 5   C. Louis Brouillard's Confession

 6           49. Duringthe periodof July 2016 thru September 2016, Brouillard met on several occasions with

 7   an investigator retained by Plaintiffs counsel, in the course of whichBrouillard made severaladmissions

 8   regarding his past sexual abuse of minorboyswhileserving in both his capacities as a priest and scoutmaster

 9   for Guam.

10           50. As a follow up to the meetings withthe investigator, on or about October 03,2016, Brouillard

11   signeda statement admitting to sexually abusing at leasttwenty(20) boys, a true and accurate copy of

12   Brouillard's statement is attached hereto as Exhibit" 1." While the statement contains admissions, it also

13   contains remarks that seek to minimize the misconduct as reflected in the excerpts below:

14                   a.   "My name is Father Louis Brouillard. I am a retired Roman Catholic
                          priest.... I served the diocese of Guam in the 1940s through 1970s and
15                        held many positions in the church."
16                   b.   "Looking back now, I realize that I crossed the line with some ofmy
                          actions and relationship with the boys.
17                   c.   "During some ofthe sex education talks, while atSanta Teresita, I did
                          touch the penises of someof the boys and some of the boys did
18                        perform oral sex on me. Some ofthe incidents took place inMangilao
                          at the rectoryof the SantaTeresitaChurch. Because of the many years
19                        that have passed, I do not remember the exact dates and times or the
                          names of the boys involved. There may have been 20 or more boys
20                        involved. Other locations where the sexual contact may have happened
                          would be at San Vicente and Father Duenas Memorial Schools.
21
                     d.   "At that time, I did believethat the boys enjoyedthe sexual contact and
22                        I also had self gratification as well."
23                   e.   "Ihave come to learn the name ofone ofthe boys I had sexual contact
                          with at the Santa Teresitarectory. His name is Leo Tudela.... I
24                        apologize to you Leo and the rest ofthe boys that I may have harmed. I
                          regretwith all my heartany wrong I did to them. I pray for all the boys
25                        I may have harmed and ask for their forgiveness from God."
26                   f    "While in Guam my actions were discussed and confessed to area
                          priests as well as Bishop Apollinaris Baumgartner who had approached
27                        me to talk about the situation. I was told to try to do better and say
                          prayers as a penance."



                                                            12


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 1                    g.   "I believethe Catholic Church should be honest andtruthful regarding
                           what happened on Guam during my time there."
2

 3             51. At alltimes relevant hereto, Brouillard sexually abused andmolestedV.P. when V.P. was a

4    minor and committed such actswhile serving as a priest in the Mangilao Parish, in both of his capacities as

 5   an agent and employee ofthe AganaArchdiocese, and/or while workingas a scoutmaster for the BSA and

 6   AlohaCouncil, which are vicariously liable for his actions.

7              52. The Agana Archdiocese, BSA, AlohaCouncil, and DOES 1-50, inclusive, knew thatBrouillard

 8   had sexually abused and molested V.P., and rather than reporting the matter to law enforcement and without

 9   intervening so as to prevent Brouillard from engaging in additional instances of sexual abuse, and without
10   seeking to have Brouillard acknowledge and take responsibility for hiswrongful actions, they assisted
11   Brouillard withthe specific purpose ordesign to keepBrouillard's misconduct hidden and secret; to hinder

12   orprevent Brouillard's apprehension and prosecution; and to protect the BSA, AlohaCouncil, Agana
13   Archdiocese, aswell as the Roman Catholic church as aninternational institution. Suchtactics included

14   paying Brouillard a monthly stipend for many years up until this time, despite being rendered inactive as a

15   Priest.

16             53. To this day, the Agana Archdiocese, BSA, AlohaCouncil, and DOES 1-50 nevercontacted

17   V.P.,V.P.'s family, orchildren they know Brouillard had sexual contact with. The Agana Archdiocese,

18   BSA, Aloha Council, and DOES 1-50 have been content that anyother children that were sexually abused by

19   Brouillard while he was serving as a priest and/or scoutmaster, will remain affected by guilt, shame and

20   emotional distress.

21             54. Despite the prolonged and egregious sexual abuse, spanning a period of several decades, neither
22   the BSA, Aloha Council, Agana Archdiocese, nor the Roman Catholic Church everformally disciplined

23   Brouillard.

24             55. In fact, the Agana Archdiocese have paid and continued to payup through present time, sums

25   of moneyto Brouillard on a regular basis, ostensibly under the guise of a retirement stipend. Brouillard's
26   namewas included on a list released by the Duluth diocese in December 2013 of priests who hadbeen

27   credibly accused of sexual abuse of youngpersons while serving in the diocese. In fact, and not withstanding

28   the above, on information andbelief,the Archdiocese hashired an attorney to represent Brouillard in these

     cases.


                                                           13


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 1            56. The criminal offense of ChildAbuse is defined in 9 GCA § 31.30, whichstates in pertinent part

 2   as follows:
                   (a) A personis guiltyof childabuse when:
 3                      (1) he subjectsa childto cruel mistreatment; or
                        (2) having a child in his care or custodyor under his control, he:
 4                                           *           *   *
                               (B) subjects that childto cruel mistreatment; or
 5                             (C) unreasonably causesor permitsthe physicalor, emotional
                                   health of that childto be endangered
 6
             57. Under 19 GCA § 13101, the following relevant definitions are provided:
 7


 8                 (b) Abused or neglected child means a child whose physical ormental health or
                       welfare is harmedor threatened with harm by the acts or omissionsof the
 9                     person(s) responsible for the child's welfare;
                                             *           *   *


10                 (d) Child means a person under the age of18 years;
                                             *           *   *

11                 (t) Harm to a child's physical health orwelfare occurs ina case where there
                      exists evidence of injury, including but not limited to:
12                                           *           *   *
                        (2) Any case where the child has been the victim of a sexual offense as
13                          defined inthe Criminal and Correctional Code; or
14                      (3) Any case where there exists injury to the psychological capacity ofa
                            child such as failure to thrive, extreme mental distress, or gross
15                          emotional orverbal degradation as is evidenced by an observable and
                            substantial impairment in the child'sability to functionwithin a
16                          normal range ofperformance with due regard to the child's culture(.)
17           58. Under 9 GCA §25A201, "sexual conduct" with a minor isdefined as follows:
18                 (o) Sexual Conduct means acts ofsexual penetration, sexual contact,
                      masturbation, bestiality, sexual penetration, deviate sexual intercourse,
19                    sadomasochistic abuse, or lascivious exhibition ofthe genital or pubic area
                      of a minor.
20
             59. Under 9 GCA § 25.10(8), "sexual contact"is definedas follows:
21
                        (8) Sexual Contact includes the intentional touching of the victim's or
22                          actor's intimate parts or the intentional touching ofthe clothing
                            covering the immediate area of the victim's or actor's intimate parts, if
23                          that intentional touching can reasonably be construed as being for the
                            purpose of sexual arousal or gratification.
24
             60. Under 9 GCA § 25.20, the crime of Second Degree Criminal Sexual Misconduct with regard to
25
     a child is set forth in pertinentpart as follows:
26
                   (a) A person is guilty of criminal sexual conduct in the second degree if the
27                    person engages in sexual contact with another person and ifany ofthe
                      following circumstances exists:
28                      (1) that other person is under fourteen (14) years ofage;


                                                             14


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 1                        (2) that otherperson is at leastfourteen (14) but less than sixteen(16)
                              years of age and the actor is a memberof the same householdas the
 2                            victim, or is related by blood or affinity to the fourthdegreeto the
                              victim, or is in a position of authority over the victim and the actor
 3                            used this authority to coercethe victimto submit.

 4              61.      Under9 GCA § 28.65, the crime of Indecent Exposure is set forth in pertinent part as

 5   follows:

 6                    A personis guiltyof indecent exposure if he exposes his genitalsor performs
                      any other lewd act under circumstances in which his conduct is likely to be
 7                    observed by any personwho wouldbe offended or alarmed.

 8              62.      Under 19 GCA § 13201(b), the following are required to report child abuse:

 9                        (b) Persons required to report suspected childabuseunder Subsection (a)
                              include, but are not limitedto,... clergymemberof any religiousfaith,
10                            or other similarfunctionary or employee of any church, place of
                              worship, or other religious organization whose primaryduties consist
11                            of teaching, spreading the faith, church governance, supervision of a
                              religious order, or supervision or participation in religious ritual and
12                            worship,...

13                                                 IV.
                                          FIRST CAUSE OF ACTION
14
                                               Child Sexual Abuse
15                                       [Against DefendantBrouillard]
16              63. Plaintiffre-alleges and incorporates by reference paragraphs 1through 62 of this Complaint as

17   if fully set forth herein.

18              64. Brouillard committed the offense of Second Degree Criminal SexualMisconduct, as set forth in

19   9 GA § 25.20, by engaging in sexual contact withV.P. whenV.P. was underfourteen (14)yearsof age.

20              65. Brouillard committed the offense of Indecent Exposure, as set forth in 9 GCA § 28.65, whenhe

21   exposed hisgenitals in the presence of V.P. in which hisconduct offended andalarmed V.P., in his

22   position as a priestand/orscoutmaster.

23              66. Brouillard committed the offense of ChildAbuse, as set forth in 9 GCA § 31.30, in his position

24   as a priest and/or scoutmaster, by subjecting V.P. to cruel mistreatment, including but not limited to having

25   V.P., who was a child at the time pursuant to 19GCA § 13101(d), under his care, custodyor control,

26   unreasonably causedor permitted the physical or emotional healthof the child to be endangered.

27              67. As a direct and proximate consequence of Brouillard'smisconduct, in his position as a priest

28   and/orscoutmaster, V.P. was an abusedor neglected child withinthe meaning of 19 GCA § 13101(b)


                                                              15


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 1   because his physical or mentalhealthor welfare was and continues to be harmedby the acts or omissions of

 2   Brouillard, who was responsible for the child's welfare. Moreover, as Brouillard's misconduct constitutes

 3   the commission of one or more criminal offenses, V.P. has suffered harmto a child'sphysicalhealth or

 4   welfare withinthe meaning of 19GCA § 13101(t)(2)because V.P. was the victim of a sexualoffenseas

 5   definedin the Criminaland Correctional Code (9 GCA).

 6           68. As a directand proximate consequence of Brouillard'smisconduct, in his positionas a priest

 7   and / or scoutmaster, V.P. has suffered, and continues to suffer, great pain of mind and body, shock,

 8   emotional distress, physical manifestations of emotional distress, embarrassment, loss of self-esteem,

 9   disgrace, humiliation, and loss of enjoyment of life; and have incurred and/orwill continue to incur expenses

10   for medical and psychological treatment, therapy and counseling.

11           69. By engaging in the conduct described herein, in his positionas a priest and/orscoutmaster,

12   Brouillard actedwith malice, oppression, and/or fraud, entitling V.P. to exemplary and punitive damages.

13                                                 V.
                                         SECOND CAUSE OF ACTION
14
                                              Child Sexual Battery
15
                                          [Against Defendant Brouillard]
16           70. Plaintiffre-alleges and incorporates by reference paragraphs 1through 69 ofthis Complaint as
17   iffully set forth herein.
18            71. The acts ofsexual abuse by Brouillard heretofore described were done with the intention to
19   cause a harmful or offensive contact with V.P.'s person.
20            72. As a direct orindirect result ofBrouillard's acts, a harmful oroffensive contact occurred with
21   V.P.'s person.
22            73. V.P. did not consent to the harmful or offensive contact by Brouillard.
23            74. The harmful or offensive contact by Brouillard caused injury, damage, loss, and harm to V.P.,
24   including but not limited to great pain ofmind and body, shock, emotional distress, physical manifestations
25   ofemotional distress, embarrassment, loss ofself-esteem, disgrace, humiliation, and loss ofenjoyment of
26   life; and V.P. has incurred and/or will continue to incur expenses for medical and psychological treatment,
27   therapy, and counseling.
28   //


                                                           16


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 1            75. As a directand proximate resultof the harmful or offensive contact, V.P. sufferedgeneraland

 2   special damages.

 3            76. By engaging in the conduct described herein, Brouillard acted with malice, oppression, and/or

 4   fraud, entitling V.P. to exemplary and punitive damages.

 5                                                  VI.
                                           THIRD CAUSE OF ACTION
 6
                                                Child Sexual Assault
 7
                                          [Against Defendant Brouillard]
 8            77. Plaintiffre-alleges and incorporates by reference paragraphs 1through 76 ofthis Complaint as
 9   iffully set forth herein.
10            78. By engaging in the conduct heretofore described, Brouillard demonstrated an unlawful intent to
11   inflict an immediate injury on the person ofV.P. then present.
12            79. Brouillard's conduct caused V.P. to be in fear ofpersonal harm, including sexual abuse.
13            80. As adirect and proximate result ofBrouillard's sexual assault, V.P. suffered general and special
14   damages.
15            81. By engaging in the conduct described herein, Brouillard acted with malice, oppression, and/or
16   fraud, entitling V.P. to exemplary and punitive damages.
17
                                                  vn.
                                         FOURTH CAUSE OF ACTION
18

                                    Intentional Infliction of Emotional Distress
19
                                          [Against Defendant Brouillard]
20
              82. Plaintiffre-alleges and incorporates by reference paragraphs 1 through81 of this Complaint as
21
     if fully set forth herein.
22
              83. Brouillard'sacts and conduct in sexually abusing V.P. were extreme and outrageous.
23
              84. By engaging in suchacts and conduct, Brouillard intended to cause, or had reckless disregard of
24
     the probability of causing, V.P. to suffer severe emotional distress, including but not limited to greatpainof
25
     mind and body, shock, physical manifestations of emotional distress, embarrassment, loss of self-esteem,
26
     disgrace, humiliation, and loss of enjoyment of life.
27
     //

28
     //



                                                             17


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 1            85. As an actualand proximate resultof Brouillard'sextreme and outrageous acts and conduct,

 2   V.P. suffered and continues to suffer severe emotional distress.

 3            86. As a directand proximate resultof Brouillard'sacts and conduct, V.P. sufferedgeneraland

 4   specialdamages.

 5            87. By engaging in the conductdescribed herein,Brouillardacted with malice, oppression, and/or

 6   fraud, entitling V.P.to exemplary and punitive damages.

 7                                                       VHI.
                                            FIFTH CAUSE OF ACTION
 8
                                                  Child Sexual Abuse
 9                [Against Defendants Agana Archdiocese, BSA, Aloha Council, and DOES 1-50]
10            88. Plaintiffre-alleges and incorporates by reference paragraphs 1through 87 of this Complaint as

11   if fully set forth herein.

12            89. Defendants AganaArchdiocese, BSA, AlohaCouncil, and DOES 1-50 (collectively

13   "Defendants" as alleged in this cause of action) are vicariously liablefor the sexualabuse committed upon

14   V.P. by Brouillard. Public policy dictates thatDefendants should be heldresponsible for Brouillard's

15   wrongful conduct underthe theory commonly referred to as Respondeat Superior.

16            90. For the reasons set forth in the incorporated paragraphs of this Complaint, the sexual abuse of

17   V.P. arose from and was incidental to Brouillard's employment with, or service on behalfof the Agana

18   Archdiocese, the BSA, and its AlohaCouncil, and whileBrouillard was actingwithin the scope of his

19   employment with theAgana Archdiocese and/or service onbehalf oftheBSA or itsAloha Council, at the
20   time he committed the acts of sexual abuse, which were foreseeable to Defendants.

21            91. Defendants ratified and/or approved of Brouillard's sexual abuse by failing to adequately

22   investigate, discharge, discipline and/or supervise Brouillard and other priests, Scout leaders, employees,
23   servants, officers, volunteers, and/or agents known by Defendants to havesexually abused children, or to

24   have been accused of sexually abusing children; by concealing evidence of Brouillard's sexual abuse bothas

25   a priest andas a scoutmaster; failing to intervene to prevent ongoing and/or further sexual abuse; by failing
26   to reportthe sexualabuseas required under 19 GCA 13201(b); by allowing Brouillard to continue in service

27   as a Catholic priestworking for the Agana Archdiocese andas a scoutmaster for the BSAand its Aloha

28   Council.




                                                           18


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 1           92. Despite the pretense of policies andprocedures to investigate and address instances of child

 2   sexual abuse by priests working for the Agana Archdiocese, andserving as Scout leaders on behalfofthe

 3   BSA and the AlohaCouncil, aswell astheir employees, servants, officers, volunteers, and/or agents.

 4   Defendants in fact implemented such policies and procedures for no otherpurpose thanto avoid scandal,

 5   maintain secrecy andpreserve loyaltyto fellow clergy ofthe AganaArchdiocese, andserving as Scout

 6   leaders on behalfofthe BSA andthe AlohaCouncil, aswell astheiremployees, servants, officers,

 7   volunteers, and/ or agents, including childmolesting clergyworking forthe AganaArchdiocese, and/or

 8   servingas Scout leaders on behalf ofthe BSA andthe Aloha Council, rather than the protection of children.

 9   Such hypocritical conductby Defendants hasserved to systematically encourage, perpetuate and promote

10   sexuallyabusiveconductby priests both in theirrole as clergy forthe Agana Archdiocese,and as Scout

11   Leaders for the BSA and the Aloha Council.

12           93. Defendants AganaArchdiocese either hadactual knowledge of Brouillard's sexualabuse of

13   numerous otherminorswhom Brouillard victimized, or could have and should have reasonably foreseen that

14   Brouillard was committing andwould commit sexual abuse of other minors. Such knowledge included direct

15   awareness by former Agana Bishop Apollinaris Baumgartner, asreflected in the following excerpt from

16   Brouillard's statement attached hereto as Exhibit" 1":

17                           "While inGuam myactions were discussed and confessed to area
                     priests aswell asBishop Apollinaris Baumgartner who hadapproached me
18                   totalk about the situation. I was told totry todo better and say prayers as a
                     penance."
19

20           94. Defendants BSA and its Aloha Council either hadactual knowledge of Brouillard's sexual

21   abuse of numerousotherminors whom Brouillard victimized, or could have and should have reasonably

22   foreseen thatBrouillard was committing andwould commit sexual abuse of otherminors. To date BSA has

23   acknowledged thatBrouillard victimized minorboys while serving as a scoutmaster, as reflected in the

24   excerpts taken from an interview with Jeff Sulzbach, the chief executiveofficer ofthe Boy Scouts of

25   America Aloha Council on March 5,2017, attached hereto as Exhibit "2":

26                            "Upon learning ofthe reports, we took immediate action to
                     preclude individual (Brouillard) from any further participation in the
27                   scouting program." Though Sulzbach couldn't say when exactly the Boy
                     Scouts became aware ofthe reports of Brouillard's sexual abuse of children
28                   on Guam, he said itwas possible that the organization didn't take action
                     against priestuntil sometime afterthe 1970s.

                                                              19


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 1            95. As a direct and proximate result of the Defendants' above-described conduct,V.P. has suffered,

 2   and continues to suffer, great pain of mind and body, shock, emotional distress,physical manifestations of

 3   emotional distress, embarrassment, loss of self-esteem, disgrace, humiliation, and loss of enjoyment of life;

 4   andhas incurred and/or will continue to incur expenses for medical andpsychological treatment, therapy and

 5   counseling.

 6            96. By engaging in the conduct described herein, Defendants acted with malice,oppression, and/or

 7   fraud, entitling V.P. to exemplary and punitive damages.

 8                                                        IX.
                                            SIXTH CAUSE OF ACTION
 9
                                                      Negligence
10                                             [Against AllDefendants]
11            97. Plaintiffre-alleges and incorporates by reference paragraphs 1 through96 of this Complaint as

12   if fully set forth herein.

13            98. Defendants Brouillard, AganaArchdiocese, BSA,Aloha Council, and DOES 1-50(collectively

14   "Defendants" as alleged in this cause of action) hada dutyto protect V.P. whenhe was entrusted to

15   Brouillard's careby V.P.'s parents. V.P.'s care, welfare, and/or physical custody were temporarily entrusted

16   to Defendants, andDefendants accepted the entrusted care of V.P. As such, Defendants owedV.P., as a

17   child at thetime, a special duty of care, in addition to a duty of ordinary care, andowed V.P. the higher duty

18   of carethat adults dealing with children oweto protect them from harm.

19            99. Byvirtue of hisunique authority and position as a Roman Catholic priest and/or a scoutmaster,

20   Brouillard wasable to identify vulnerable victims andtheir families upon which he could perform such

21   sexual abuse; to manipulate his authority to procure compliance with his sexual demands from hisvictims; to
22   induce the victims to continue to allowthe abuse; and to coerce them not to report it to any other persons or

23   authorities. As a priest and/or a scoutmaster, Brouillard hadunique access to a position of authority within

24   RomanCatholic families and/orfamilies that were actively involved in activities sponsored by the BSA and

25   its AlohaCouncil, like the family of V.P. Suchaccess, authority and reverence were knownto the

26   Defendants and encouragedby them.

27            100. Defendants, by and through their agents, servants and employees, knew or reasonably should

28   have known of Brouillard's sexuallyabusive and exploitative propensities and/or that Brouillardwas an unfit


                                                           20


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 1   agent. It was foreseeable that if Defendants did not adequately exercise or provide theduty of care owed to
 2   children in their care, including but not limited to V.P., the children entrusted to Defendants' care wouldbe

 3   vulnerable to sexual abuseby Brouillard.

 4            101. Defendants breached theirduty of care to the minor V.P. by allowing Brouillard to come into

 5   contact with V.P. as a childwithout supervision; by failing to adequately supervise, or negligently retaining

 6   Brouillard whomthey permitted and enabled to have access to V.P.; by failingto properlyinvestigate; by

 7   failing to inform or concealing from V.P.'s parents, guardians, or law enforcement officials that Brouillard

 8   was or may have been sexually abusing minors; by holding out Brouillard to V.P.'sparents or guardians, and

 9   to the community of Guam at large, as being in good standing and trustworthy as a personof stature and

10   integrity. Defendants cloaked within the facade of normalcy Brouillard's contact withV.P. and/or withother

11   minors who werevictimsof Brouillard, and deliberately concealed and disguised the sexualabuse

12   committed by Brouillard.

13            102. As a direct andproximate result oftheDefendants' above-described conduct, V.P. hassuffered,
14   andcontinues to suffer, great painof mind andbody, shock, emotional distress, physical manifestations of

15   emotional distress, embarrassment, lossof self-esteem, disgrace, humiliation, and lossof enjoyment of life;

16   andhave incurred and/or will continue to incur expenses for medical and psychological treatment, therapy

17   and counseling.

18            103. Byengaging inthe conduct described herein, Defendants acted with malice, oppression, and/or
19   fraud, entitling V.P. to exemplary and punitive damages.

20                                                         X.
                                          SEVENTH CAUSE OF ACTION
21
                                                Negligent Supervision
22                [Against Defendants Agana Archdiocese, BSA, Aloha Council, and DOES 1-50]
23            104. Plaintiff re-alleges andincorporates by reference paragraphs 1through 103 of this Complaint as

24   if fully setforth herein.
25            105. Defendants AganaArchdiocese, BSA,AlohaCouncil, and DOES 1-50(collectively

26   "Defendants" as alleged in this cause of action) had a dutyto provide reasonable supervision of both

27   Brouillard and the minor child,V.P.; to use reasonable care in investigating Brouillard; and to provide

28   adequate warning to V.P.'s family, and to families of otherchildren who were entrusted to Brouillard, of


                                                           21


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 1   Brouillard's sexually abusive and exploitative propensities and unfitness.

2             106. Defendants, by and through their agents, servants and employees, knew or reasonably should

3    have knownof Brouillard's sexuallyabusive and exploitative propensities and/or that Brouillardwas an unfit

4    agent. Despite suchknowledge, Defendants negligently failed to supervise Brouillard in his positionof trust

5    andauthority as a parish priestand/or scoutmaster, where he was ableto commit the wrongful acts against

6    V.P. alleged herein. Defendants failed to provide reasonable supervision of Brouillard, failedto use

7    reasonable care in investigating Brouillard, and failed to provide adequate warningto V.P.'s family regarding

8    Brouillard's sexually abusive and exploitative propensities and unfitness. Defendants further failed to take

9    reasonable measures to prevent future sexual abuse.

10            107. As a direct andproximate result ofthe Defendants' above-described conduct, V.P. hassuffered,

11   andcontinues to suffer, great painof mind andbody, shock, emotional distress, physical manifestations of

12   emotional distress, embarrassment, loss of self-esteem, disgrace, humiliation, and loss of enjoyment of life;

13   and have incurred and/or will continue to incur expenses formedical andpsychological treatment, therapy

14   and counseling.

15            108. By engaging inthe conduct described herein, Defendants acted with malice, oppression, and/or
16   fraud, entitling V.P. to exemplary andpunitive damages.

17                                                         XL
                                           EIGHTH CAUSE OF ACTION
18
                                           Negligent Hiring And Retention
19         [Against Defendants Agana Archdiocese, Franciscans, BSA, Aloha Council, and DOES 1-50]
20            109. Plaintiff re-alleges and incorporates byreference paragraphs 1through 108 of thisComplaint as

21   if fullyset forth herein.

22            110. Defendants Agana Archdiocese, BSA, Aloha Council, and DOES 1-50 (collectively
23   "Defendants" as alleged inthis cause of action) had a duty notto hire, retain, or engage intheservices of
24   Brouillard in light of his sexually abusive andexploitative propensities.

25            111. Defendants, by andthrough theiragents, servants and employees, knewor reasonably should
26   have known of Brouillard's sexually abusive andexploitative propensities and/or that Brouillard was an unfit

27   agent. Despite such knowledge and/or an opportunity to learn of Brouillard's misconduct, Defendants
28   negligently hired, retained, or engage in the services of Brouillard in his position of trustand authority as a


                                                            22


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 1   parish priest and/or a scoutmaster, where hewas able to commit thewrongful acts against V.P. alleged
2    herein. Defendants failed to properly evaluate Brouillard in advance by failing to conduct necessary

 3   screening; failed to properly evaluate Brouillard's conduct andperformance as an employee of, or provider of

4    services to Defendants; and failed to exercise the duediligence incumbent uponemployers to investigate

 5   employee misconduct, or to take appropriate disciplinary action, including immediate termination and

6    reporting and referral of Brouillard's sexual abuse to appropriate authorities. Defendants negligently

7    continued to retainBrouillard in service as a Catholic priestand/orscoutmaster, working or providing

8    services for Defendants, whichenabled him to continue engaging in the sexually abusive and predatory

9    behavior described herein.

10            112. As a direct andproximate result of the Defendants' above-described conduct, V.P. has suffered,

11   and continues to suffer, greatpain of mindand body, shock, emotional distress, physical manifestations of

12   emotional distress, embarrassment, loss of self-esteem, disgrace, humiliation, and loss of enjoyment of life;

13   andhaveincurred and/or will continue to incur expenses for medical and psychological treatment, therapy

14   and counseling.

15            113. By engaging inthe conduct described herein, Defendants acted with malice, oppression, and/or

16   fraud, entitling V.P.to exemplary and punitive damages.

17                                                        XH.
                                            NINTH CAUSE OF ACTION
18
                              Breach of Fiduciary Duty And/Or Confidential Relationship
19                                             [Against All Defendants]
20            114. Plaintiffre-alleges andincorporates by reference paragraphs 1through 113 of this Complaint as

21   if fully set forth herein.

22            115. Byholding Brouillard outas a qualified priest and a person of stature andintegrity within the
23   Catholic Archdiocese, Defendants Agana Archdiocese, andDOES 1-50, together withBrouillard himself,

24   invited, counseled, encouraged andinduced the Catholic community of Guam, including parents or

25   guardians of children, andparticularly parents or guardians of children serving as altarboysand children

26   eligible to serve as altarboys, to have trustandconfidence in the Agana Archdiocese and its priests andto

27   entrust their children to the company of priests andspecifically to Brouillard, including allowing their

28   children to be alone withBrouillard without supervision, andto spend nights at a church facility where


                                                           23


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 1   Brouillard resided. Through such actions, Defendants collectively created and entered into a fiduciary and/or
 2   confidential relationship with its parishioners, including Catholic parents or guardians andtheirchildren, and

 3   in particular, children who provided services to the Agana Archdiocese, thatincluded serving as altar boys.

 4   Accordingly, Defendants collectively created and entered into a fiduciary and/or confidential relationship
 5   specifically with the minor child V.P.

 6           116. By holding Brouillard out as a safe, trustworthy andhighly ethical scoutmaster with integrity,

7    Defendants AganaArchdiocese, BSA, Aloha Council andDOES 1-50, together with Brouillard himself,

 8   invited, counseled, encouraged andinduced the communityof Guam, including parents or guardians of

 9   children to join the Boy Scouts; and particularly asto parents or guardians of children who were already paid

10   members of the BSA and Aloha Council, to have trust and confidence in the BSA, Aloha Council and its

11   Scout leaders, employees, servants, officers, volunteers, and/or agents, and to entrust theirchildren to the

12   company of scoutmasters and specifically to Brouillard, including allowing theirchildren to be alone with

13   Brouillard without supervision, and to camp outovernight atBSA and AlohaCouncil activities. Defendants

14   Agana Archdiocese, BSA, and Aloha Council actively exploited their reputation of the Catholic Church for
15   the purpose of encouraging membership of theBoy Scouts, thereby facilitating the availability of minor boys
16   to pedophilic priests. Inthis way, Defendants Agana Archdiocese, BSA, and Aloha Council, maintained a
17   symbiotic relationship by whicheach recruited minors for their sexual pleasures. Through suchactions,

18   Defendants collectively created and entered into a fiduciary and/or confidential relationship with its
19   members, including parents orguardians and their children, and in particular, children whowere members of
20   the BSA and AlohaCouncil. Accordingly, Defendants collectively created and entered into a fiduciary

21   and/or confidential relationship specifically with the minor child V.P.

22            117. Through such fiduciary and/or confidential relationship, Defendants collectively caused parents

23   orguardians to entrust their children to members of the Agana Archdiocese, serving bothin their role as

24   priests and scoutmasters, and specifically entrusted their children to Brouillard, including the parents of V.P.,
25   whichresulted in V.P. serving as an altar boy andspending one or morenights at a church facility where

26   Brouillard resided and/or joiningandbecoming a memberofthe BSA andits Aloha Council and

27   participating in its activities, resulting in the subject acts of sexual abuse described herein.

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 1            118. Defendants collectively breached their fiduciary and/or confidential relationship with the minor
2    child V.P. by violating the trustandconfidence placed in them by parishioners and/or members, and

 3   specifically bytheminor child V.P., and by engaging in thewrongful acts described in thisComplaint.

4             119. As a direct and proximate resultof the Defendants' above-described conduct, V.P. has suffered,

 5   andcontinues to suffer, greatpainof mindand body, shock, emotional distress, physical manifestations of

 6   emotional distress, embarrassment, loss of self-esteem, disgrace, humiliation, and loss of enjoymentof life;

7    and have incurred and/orwill continue to incurexpenses for medical and psychological treatment, therapy

 8   and counseling.

 9            120. By engaging in the conduct described herein, Defendants acted with malice, oppression, and/or

10   fraud, entitlingV.P. to exemplary and punitivedamages.

11                                                       XHI.
                                           TENTH CAUSE OF ACTION
12
                                     Intentional Infliction of Emotional Distress
13                [Against Defendants Agana Archdiocese, BSA, Aloha Council, and DOES 1-50]
14            121. Plaintiffre-alleges and incorporates by reference paragraphs 1 through 120of this Complaint as

15   if fully set forth herein

16            122. Theactsand conduct of the Agana Archdiocese, BSA, AlohaCouncil, and DOES 1-50 in

17   providing Brouillard, a known serial sexual predator to children, with direct access to children including
18   V.P., andrefusing to report or stophis sexual abuses, were extreme and outrageous.

19            123. By engaging in such acts and conduct, theAgana Archdiocese, BSA, Aloha Council, and
20   DOES 1-50 intended to cause, or had reckless disregard of the probability of causing, V.P. to suffersevere

21   emotional distress, including butnot limited to great painof mind andbody, shock, physical manifestations

22   of emotional distress, embarrassment, loss of self-esteem, disgrace, humiliation, and loss of enjoyment of

23   life.

24            124. As an actual and proximate resultof this extreme and outrageous acts and conduct, V.P. was

25   sexually abused and suffered and continues to suffersevere emotional distress.

26            125. As a directand proximate resultof theseacts and conduct, V.P. suffered general and special

27   damages.

28   //



                                                           25


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 1           126. By engaging in the conduct described herein, the Agana Archdiocese, BSA, Aloha Council, and

 2   DOES 1-50 actedwith malice, oppression, and/or fraud, entitling V.P. to exemplary and punitive damages.

 3
                                                          XIV.
                                              REQUEST FOR RELIEF
 4

 5   WHEREFORE, Plaintiff V.P. requests judgment againstall Defendants on all counts as follows:

 6           1.   For all general, special, exemplary and punitive damages, as allowed by law in a sum to be

 7                proven at trial and in an amount not less than $10,000,000;

             2.   For costs and fees incurred herein;

 9           3.   Attorneys'fees, as permitted by law; and

10           4.   For other such and further relief as the Court may deem just and proper.

11
                                                          XV.
                                            DEMAND FOR JURY TRIAL
12

13           PlaintiffV.P., through his counsel, David J. Lujan, hereby demands a jury trial of six

14   (6) in the above-entitled action, pursuant to Federal Rule of Civil Procedure 48(a).

15           Respectfully submitted this Z_"2—, day of (_J £T^yWj^ ,201!
16                                                      LUJAN & WOLFF LLP

17

18
                                               By:
19                                                      DAVID J. LUJAN
                                                        Attorneyfor Plaintiff V.P.
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                                                  VERIFICATION


             V.P. declares and states that he is the PLAINTIFF in the foregoing COMPLAINT; that he has read

     said COMPLAINT and knows the contents thereof to be true and correct, except as to the matters which may
4
     have been stated upon his information and belief; and as to those matters, he believes them to be true.
 5
             I declare under penalty ofperjury under the laws ofthe United States, this ^—~~)~        day of
 6

 n   C^Q^£jmS£L                          j2018, that the foregoing is true and correct to the best of my
     knowledge.

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                                                                                   V.P.
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